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 4                                UNITED STATES DISTRICT COURT
 5                                          DISTRICT OF NEVADA
 6                                                  ***
 7     UNITED STATES OF AMERICA,                            Case No. 2:13-cr-00334-JCM-CWH-1
 8                    Plaintiff-Appellee,
 9            v.                                            ORDER
10     ANTON PAUL DRAGO, AKA Evan
       Joseph Fogarty,
11
                     Defendant-Appellant.
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13
14            Presently before the court is the government’s motion to dismiss petitioner Anton Drago’s

15    motion to vacate, amend, or correct his sentence pursuant to 28 U.S.C. § 2255. (ECF No. 238).
              Petitioner passed away on August 10, 2020. (ECF Nos. 237, 238). This court thus grants
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      the government’s motion to dismiss the remaining motion as moot. See Garceau v. Woodford,
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      399 F. 3d 1101 (9th Cir. 2005).
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              Accordingly,
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              IT IS HEREBY ORDERED, ADJUDGED, and DECREED that the government’s motion
20    to dismiss (ECF No. 238) be, and the same hereby is GRANTED.
21            IT IS FURTHER ORDERED that petitioner’s motion to vacate, set aside, or correct
22    sentence pursuant to 28 U.S.C. § 2255 (ECF No. 211) be, and the same hereby is, DENIED as
23    moot.

24            The clerk is directed to enter separate civil judgment denying petitioner’s § 2255 motion
      in the matter of Drago v. USA, case number 2:20-cv-00392-JCM.
25
              DATED September 25, 2020.
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27                                                 __________________________________________
                                                   UNITED STATES DISTRICT JUDGE
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